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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA


 KEVIN JOSEPH KELLY, et al.,                         Case No. 2:19-cv-01706-JDW

                 Plaintiffs

           v.

 REALPAGE, INC. d/b/a On-Site, et al.,

                 Defendants


                                               ORDER

       AND NOW, this 11th day of March, 2020, following a telephonic conference with counsel

for the Parties, and upon consideration of Plaintiffs’ Motion To Seal Testimony Filed in Support

of Plaintiffs’ Motion to Compel Class Composition Discovery (ECF No. 29), it ORDERED that

Plaintiffs’ Motion To Seal Testimony Filed in Support of Plaintiffs’ Motion to Compel Class

Composition Discovery (ECF No. 29) is DENIED. The Clerk of the Court shall unseal all filings

in this case and place them on the public docket.

       It is FURTHER ORDERED that, upon consideration of Plaintiffs’ Motion to Compel

Answers to Written Discovery Requests (ECF No. 30), Plaintiffs’ Motion is GRANTED IN

PART and DENIED IN PART.

       It is FURTHER ORDERED as follows:

       1.       On or before March 24, 2020, Defendants shall respond to Plaintiffs’ Interrogatory

No. 6 by providing the total number of consumers to whom Defendants sent a consumer report

that did not identify the source(s) from which Defendants obtained the information contained

therein;
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       2.       On or before March 24, 2020, Defendants shall provide to Plaintiffs all emails

generated from consumers’ web-based requests for consumer reports;

       3.       All deadlines regarding class certification in the Amended Scheduling Order (ECF

No. 28) are VACATED, and the Parties shall promptly propose new deadlines for the motion for

class certification, and response and reply thereto; and

       4.       Within one week from the date of this Order, the Parties shall submit a proposed

protective order regarding third-party consumer data.

                                                      BY THE COURT:


                                                      /s/ Joshua D. Wolson
                                                      JOSHUA D. WOLSON, J.




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